     1                IN THE UNITED STATES DISTRICT COURT

     2               FOR THE EASTERN DISTRICT OF TENNESSEE

     3                             AT GREENEVILLE

     4


     5       UNITED STATES OF AMERICA,

     6


     7                  PLAINTIFF,

     8


     9       VS                           CA:   2:11-CR-81

    10


    11       BUFORD W. ROGERS AND RODNEY E. TULLOCK,

    12


    13                  DEFENDANTS.

    14


    15               PRETRIAL CONFERENCE AND MOTION HEARING

    16                HONORABLE DENNIS H. INMAN, PRESIDING

    17                        HEARD ON DECEMBER 7, 2011

    18


    19


    20       APPEARANCES:

    21       FOR PLAINTIFF:          CARYN L. HEBETS, ESQ.

    22       FOR DEFENDANT ROGERS:

    23                               DAVID L. LEONARD, ESQ.

    24       FOR DEFENDANT TULLOCK:

    25                               ERIC D. REACH, ESQ.


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     1
                         This cause came on to be heard on this the
     2
             7th of December, 2011 in the United States District
     3
             Court, Eastern District of Tennessee at Greeneville,
     4
             before the Honorable Dennis H. Inman.        Present and
     5
             representing the Plaintiff was Caryn L. Hebets.
     6
             Present and representing Defendant Rogers was David
     7
             L. Leonard.    Present and representing Defendant
     8
             Tullock was Eric Reach.
     9


    10
                         The following matters were presented, to-
    11
             wit:
    12


    13
                         CLERK:   All rise.   United States District
    14
             Court for the Eastern District of Tennessee, the
    15
             Honorable Dennis H. Inman presiding, is now in
    16
             session.   Please be seated.
    17
                         THE COURT:    All right.
    18
                         CLERK:   Case Number 2:11-CR-81, United
    19
             States of America Versus Buford W. Rogers and Rodney
    20
             E. Tullock.
    21
                         THE COURT:    Ms. Headon is desirous of
    22
             filing the Final Pretrial Order and in that regard,
    23
             wants to know if everyone's best estimate is still
    24
             three weeks on the current conditions.
    25
                         MS. HEBETS:    Your Honor, I think that's,


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     1
             under current conditions, still an appropriate
     2
             estimate.
     3
                          THE COURT:   All right.
     4
                          MR. LEONARD:    Your Honor, there is a - I
     5
             believe on behalf of Charles Parker there is a Motion
     6
             to Continue filed.     When is the Court going to take
     7
             that up?
     8
                          THE COURT:   I'm sorry.   Mr. Leonard, say
     9
             again.
    10
                          MR. LEONARD:    There is a - on behalf of Mr.
    11
             Parker there was a Motion to Continue the trial date
    12
             filed, and I, the name of his attorney escapes me,
    13
             but when is the Court going to take that matter up?
    14
                          UNIDENTIFIED:    That's Francis (INAUDIBLE).
    15
                          THE COURT:   I don't know.
    16
                          MR. LEONARD:    Okay.
    17
                          THE COURT:   I mean, I'm not - that's,
    18
             that's a, that's truthful; I don't know.
    19
                          CLERK:   Do you want me to find that for
    20
             you?   Do you want me to find that for you?
    21
                          THE COURT:   That motion?    No.   I've got it
    22
             in there.    That's okay.    Okay.   I, let's see.    First
    23
             of all, with respect to Mr. Leonard's motions, apart
    24
             from his Motion to Suppress, do either of you, Ms.
    25
             Hebets, Mr. Leonard, want to say anything?


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     1
                        MS. HEBETS: Nothing from the United States,
     2
             Your Honor.
     3
                        MR. LEONARD:    Nothing further, Your Honor.
     4
                        THE COURT:    Which leaves us with three
     5
             Motions to Suppress, right?
     6
                        MS. HEBETS:    Four.
     7
                        THE COURT:    Four?
     8
                        MS. HEBETS:    Well - yes.    You haven't
     9
             withdrawn your motion, have you?
    10
                        MR. LEONARD:    No.    Your Honor, on the
    11
             motion concerning the search of the storage facility
    12
             in Knox County, there is a little footnote on the
    13
             first page of my memorandum talking about the
    14
             standing issue.    The discovery in this case is
    15
             voluminous, and I did see in the discovery where it
    16
             was alleged that Mr. Rogers was only an emergency
    17
             contact on, on the lease agreement for the facility.
    18
             I could not find any indication that he was an owner
    19
             of the storage unit or the actual person leasing the
    20
             storage unit, so I did file this in an abundance of
    21
             caution to give Mr. Rogers a fair shake at this, and
    22
             certainly we can rely upon the motion and memorandum
    23
             that I filed and the response by Ms. Hebets.         I don't
    24
             think there's any need for further argument on that.
    25
             It is a standing issue, and I'm not going to withdraw


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     1
             the motion, but I think there's enough information
     2
             for you to rule on that issue.
     3
                        THE COURT:    Okay.    But can I, can I say,
     4
             state in my R&R that you agree that he was, in fact,
     5
             only an emergency contact...?
     6
                        MR. LEONARD:    Yes.
     7
                        THE COURT:    ...and not...?
     8
                        MR. LEONARD:    That's correct.
     9
                        THE COURT:    Okay.    He was not the lessee.
    10
             Who was the lessee, if that matters?       Is the lease
    11
             agreement an exhibit to anything?
    12
                        MS. HEBETS:    It is not an exhibit to any of
    13
             the documents filed.     I do have a copy of it in the
    14
             Courtroom, and it provides that the occupant is a
    15
             Susan Derfone and I can, if the Court would indulge
    16
             me to use the copier, can make a copy and submit it.
    17
                        THE COURT:    Well, I don't - okay.     It's not
    18
             important who it is.     Suffice it to say that the
    19
             actual lease agreement lists somebody other Mr.
    20
             Rogers as the tenant?
    21
                        MS. HEBETS:    Yes, Your Honor.
    22
                        THE COURT:    Okay.    Well, does anyone have
    23
             any particular preference what order we take these
    24
             Motions to Suppress?
    25
                        MS. HEBETS:    Your Honor, I would ask the


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     1
             Court to allow me to address the, Mr. Tullock's
     2
             Motion to Suppress the traffic stop, only because the
     3
             trooper is from Nashville, and he's concerned about
     4
             waiting too long, delaying too long in order to
     5
             travel back, given the weather conditions that's, I
     6
             guess, are moving this way from the western...
     7
                        THE COURT:    They move...
     8
                        MS. HEBETS:    ...part of the state.
     9
                        THE COURT:    They move west to east around
    10
             here.
    11
                        MS. HEBETS:    Yes.
    12
                        THE COURT:    That's right.    Fair enough.    So
    13
             let's call this one then.      This will be Mr. Tullock's
    14
             Motion to Suppress.     That is the one, isn't it?
    15
                        MS. HEBETS:    Mr. Tullock's Motion to
    16
             Suppress, yes.    It's, I believe it was Document 266?
    17
                        MR. REACH:    Yes, Your Honor, 266.
    18
                        THE COURT:    Okay.
    19
                        MS. HEBETS:    And the United States calls
    20
             Trooper Jacob Stielow.
    21
                        THE COURT:    Let's see.    Is the - will he,
    22
             will the Trooper be the only witness for the
    23
             Government?
    24
                        MS. HEBETS:    Yes.   There are additional
    25
             facts in the response, but they're not pertinent to


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                                                                         8

     1
             the traffic stop.
     2
                        THE COURT:    Okay.    Mr. Reach, do you have
     3
             any witnesses you're going to call in that regard?
     4
                        MR. REACH:    No, Your Honor.
     5
                        THE COURT:    Okay.    So the Rule is
     6
             irrelevant?
     7
                        MS. HEBETS:    Correct.
     8


     9
             (WITNESS IS SWORN)
    10


    11
                        CLERK:    Have a seat.    What is your last
    12
             name?
    13
                        TROOPER STIELOW:      Last name is Stielow.
    14
                        CLERK:    Stielow, S-T-I-E-L-O-W?
    15
                        TROOPER STIELOW:      Yes, Ma'am, I-E-O-W.
    16


    17


    18


    19


    20


    21


    22


    23


    24


    25




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                  WITNESS: TROOPER STIELOW - DIRECT, HEBETS              9

     1
                        TROOPER JACOB STIELOW, after first being
     2
             duly sworn, testified as follows:
     3


     4
                        DIRECT EXAMINATION BY MS. HEBETS:
     5


     6
                        Q.     Could you state your name for the
     7
             record?
     8
                        A.     Trooper Jacob S. Stielow.
     9
                        Q.     And how do you spell your last name?
    10
                        A.     S-T-I-E-L-O-W.
    11
                        Q.     How are you employed?
    12
                        A.     I'm a Trooper with the Tennessee
    13
             Highway Patrol.
    14
                        Q.     How long have you been with the
    15
             Tennessee Highway Patrol?
    16
                        A.     Since January of 2005.
    17
                        Q.     Were you a police officer before that?
    18
                        A.     I was a deputy with the Knox County
    19
             Sheriff's Department.
    20
                        Q.     So how long in total have you been a
    21
             law enforcement officer?
    22
                        A.     Seven years.
    23
                        Q.     Okay.   And with the Highway Patrol,
    24
             Tennessee Highway Patrol, what are your primary
    25
             responsibilities?


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                  WITNESS: TROOPER STIELOW - DIRECT, HEBETS             10

      1
                          A.   Traffic enforcement, working crashes,
      2
             writing tickets, trying to make the highway a safer
      3
             place.
      4
                          Q.   Okay.   Now one of the offenses, are
      5
             you familiar with following too closely?
      6
                          A.   Yes, Ma'am.
      7
                          Q.   And could you - is that, in fact, a
      8
             violation of the Tennessee Code?
      9
                          A.   Yes, Ma'am.   I believe it's 55.8.124,
     10
             if I'm not mistaken.
     11
                          Q.   And what exactly does that entail?
     12
                          A.   It basically states that a driver of a
     13
             vehicle shall not follow another vehicle more closely
     14
             than is reasonable, based on speed, weather
     15
             conditions, road conditions, that, you know, if
     16
             you're hauling a trailer, you know, size of your
     17
             vehicle, size of the load you're hauling, you know,
     18
             if you've got a load in the back of pickup.
     19
             Basically it's a lot of different conditions based on
     20
             that TCA.
     21
                          Q.   And as your, in your seven years of
     22
             experience have you written tickets for following too
     23
             closely?
     24
                          A.   Absolutely.   I've written, we call
     25
             them hard copies, which is the copies that will go


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                  WITNESS: TROOPER STIELOW - DIRECT, HEBETS               11

      1
             to, you know, the Court, warning tickets, both.
      2
                         Q.   Okay.
      3
                         A.   It's a common occurrence for crashes.
      4
             It's one of the leading reasons for, you know, rear
      5
             end collisions, is following too closely.
      6
                         Q.   Okay.   And just before we get into the
      7
             facts of this case, could you give the Court an
      8
             estimate of how many traffic stops you're involved
      9
             in, you were involved in on a daily basis back in
     10
             2010?
     11
                         A.   Anywhere from, on a slow day, maybe
     12
             eight, on a busy day, twenty plus.
     13
                         THE COURT:   How many?      I mean, what?   What?
     14
                         A.   Seven, you know, on a slow day.        If
     15
             I'm really out there humping it, twenty plus.
     16
                         THE COURT:   Okay.    Tickets or crashes?
     17
                         A.   No, no.    Stops.
     18
                         Q.   Traffic stops.
     19
                         THE COURT:   Stops?    Excuse me.
     20
                         A.   Yes, Sir.     Stops.
     21
                         Q.   Now do you recall the date of April
     22
             21st of 2010?
     23
                         A.   Yes, Ma'am.
     24
                         Q.   And were you working as a Highway
     25
             Patrol Officer on that date, a trooper?


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                  WITNESS: TROOPER STIELOW - DIRECT, HEBETS              12

      1
                         A.   Yes, Ma'am.
      2
                         Q.   Where were you stationed at that
      3
             point?
      4
                         A.   In the Fall Branch District.       You
      5
             know, we work a lot of different counties, you know.
      6
             My actual assignment was Washington County, but, you
      7
             know, we worked multiple, as Washington County based
      8
             on troop levels, you know.      If there was work over in
      9
             Greene County we'd come over in Greene County.         We'd
     10
             work Carter County or, so, my actual assignment was a
     11
             Washington County Trooper.      On this date, I think, I
     12
             was in Greene County.
     13
                         Q.   Okay.   So you were in Greene County?
     14
             And do you have a specific recollection of a
     15
             conversation with the TBI Special Agent Chucky
     16
             Wilhoit regarding a particular vehicle?
     17
                         A.   I remember talking to Agent Wilhoit.
     18
             The specifics of the conversation I don't recall.
     19
                         Q.   Okay.
     20
                         A.   I, you know, basically just
     21
             generalities.    You know, if you're working over here,
     22
             if you see this vehicle, you know, we'd be interested
     23
             in if it was stopped, you know, what you found.           But,
     24
             you know, we don't have any specific information, and
     25
             if you are going to - if you do see it, you know, get


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                    WITNESS: TROOPER STIELOW - DIRECT, HEBETS           13

      1
             your own probable cause and...
      2
                          Q.   Okay.
      3
                          A.   ...that type of thing, but nothing
      4
             specifics.    It's hard to remember that far back.
      5
                          Q.   Okay.   Now did you, in fact, come
      6
             across this vehicle mentioned to you by Agent
      7
             Wilhoit?
      8
                          A.   Yes, Ma'am.
      9
                          Q.   And what type of vehicle was it?
     10
                          A.   I believe it was a maroon, a maroon
     11
             van.    I don't remember the exact make, Chevy van.
     12
                          Q.   Can you tell the Court where you first
     13
             were when you saw that van?
     14
                          A.   I was out on Highway 321.     It's an
     15
             area I used to work quite a bit when I was over here.
     16
             We worked state routes a lot.
     17
                          Q.   Okay.   And specifically on 321, do you
     18
             know where you were?
     19
                          A.   I don't know exactly where I was.       No,
     20
             Ma'am.
     21
                          Q.   Okay.
     22
                          A.   I don't remember where.
     23
                          THE COURT:   The highway between Greeneville
     24
             and Newport?
     25
                          A.   Yes, Sir.


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                  WITNESS: TROOPER STIELOW - DIRECT, HEBETS               14

      1
                          Q.   And what was your first observation of
      2
             this van?
      3
                          A.   I, I don't remember my first
      4
             observation, you know, initially when I saw it.          I do
      5
             remember after seeing it thinking, wow, that van is
      6
             really close to the vehicle in front of it.         Pulled
      7
             it over shortly after that, and it seems like, and I
      8
             don't know exactly how the stop went, but I remember
      9
             thinking that we were not in a good place where the
     10
             actual, where the stop, the initial stop took place,
     11
             and we moved from there to a safer location.         That,
     12
             you know, sometimes those old highways out here,
     13
             there's no shoulder and curvy roads, and it's just,
     14
             it's not a good...
     15
                          Q.   For safety...
     16
                          A.   It's a good way to get somebody hurt.
     17
                          Q.   For safety issues you moved?
     18
                          A.   Absolutely.   So the stop
     19
              was moved from where the initial stop took place.
     20
                          Q.   Okay.   Now you said you observed the
     21
             van following closely the vehicle in front of it,
     22
             correct?
     23
                          A.   Yes, Ma'am.
     24
                          Q.   And did you make a determination that
     25
             it was too close to the vehicle in front of it?


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                  WITNESS: TROOPER STIELOW - DIRECT, HEBETS              15

      1
                         A.    Yes, Ma'am.   I based that
      2
             determination on, you know, a number of factors.
      3
             Everything's going to be taken into consideration,
      4
             the speed of the vehicles, the condition of the
      5
             roadway.    But my main thing I look at is, if the
      6
             vehicle that's following the vehicle in front of it,
      7
             if that front vehicle has to make a dynamic stop, say
      8
             a kid running out chasing a ball in front of it, a
      9
             deer running out, you know, somebody pulling out
     10
             really quickly from a side road, if something happens
     11
             and that front vehicle has to make a dynamic stop, is
     12
             there enough room for that vehicle following it to
     13
             get stopped without striking that vehicle that had to
     14
             stop instantly.     So that's really, and you know, that
     15
             can be, you know, even if you're traveling twenty-
     16
             five miles per hour, if you're right on somebody's
     17
             bumper and they have to stop you're not going to get
     18
             stopped in time.     Or if you're traveling seventy
     19
             miles per hour, it's the same thing.        The distances
     20
             are going to change, but that's really what I look
     21
             for, is based on the distance at that time, could the
     22
             vehicle in front get stopped to a complete stop
     23
             without being struck by the vehicle that's following
     24
             it, and based on that I determined that that was,
     25
             that was not the case in the particular instance.


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                  WITNESS: TROOPER STIELOW - DIRECT, HEBETS             16

      1
                         Q.   And that's why you engaged in a, or
      2
             conducted a traffic stop on the van?
      3
                         A.   Yes, Ma'am.
      4
                         Q.   And you, in fact, wrote a warning
      5
             ticket to the driver, Mr. Tullock, correct?
      6
                         A.   Yes, Ma'am.
      7
                         Q.   And I have a copy of that warning
      8
             ticket.    I know you have the original,...
      9
                         A.   Yes, Ma'am.
     10
                         Q.   ...but we'll just use the copy for the
     11
             Court purposes, that I'd like to submit as Exhibit 1.
     12


     13
             (WHEREUPON, EXHIBIT NUMBER 1, Copy of Warning Ticket
     14
             Issued to Mr. Tullock, IS ADMITTED)
     15


     16
                         Q.   And during the traffic stop, did you
     17
             notice anything particular about the driver, Mr.
     18
             Tullock?
     19
                         A.   Just, nothing, you know, really
     20
             overtly.    He was a little nervous, and we had a
     21
             conversation about his nervousness.        Well, I mean,
     22
             anybody that gets stopped, I get stopped I'm going to
     23
             get nervous instantly.      A lot of times as the traffic
     24
             stop progresses that nerves, it'll slowly decrease,
     25
             and especially if you're, you know, I mean, as far as


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                  WITNESS: TROOPER STIELOW - DIRECT, HEBETS               17

      1
             troopers go people think, well, you get pulled over
      2
             by a trooper you're going to get a ticket.         I mean,
      3
             that's just, that's the bottom line.        And so if you
      4
             get issued a warning ticket, usually people are very,
      5
             you know, everything drops, like oh, thank you, we
      6
             appreciate it.     So you know, the nerves never stopped
      7
             with Mr. Tullock, and I asked him about this, and at
      8
             the time I said, "Hey, you know, what's going on?"
      9
             He said, "Well, you know, it's just, I don't really
     10
             like being stopped."     And I said, "Are you on any
     11
             prescription medications?", 'cause that can be a
     12
             factor in somebody's hand shaking or the signs of
     13
             nervousness if you're some sort of medication.         He
     14
             said, "Yeah, I am."     And I said, "Well, do you have
     15
             any on you?"     "Yes, there's some in the vehicle."
     16
             "Okay, is there anything else in the vehicle?"         "No,
     17
             no, no.   I don't mess with anything else.        No, I
     18
             don't, I don't do anything like that."        "Okay.   Well,
     19
             would you mind if I searched your vehicle?"         "No, no.
     20
             Go ahead, go right ahead."      So other than the
     21
             nervousness and him stating that, you know, the
     22
             nervousness was based on the fact that he was taking
     23
             prescription medication, that's about the only thing.
     24
                         Q.    I have no further questions at this
     25
             time, Your Honor.


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                   WITNESS: TROOPER STIELOW - CROSS, REACH              18

      1
                         CROSS EXAMINATION BY MR. REACH:
      2


      3
                         Q.   Trooper Stielow, what were the weather
      4
             conditions back on this date?
      5
                         A.   I don't remember any adverse weather
      6
             conditions at all.     Do you mean had it been raining
      7
             or something like that?
      8
                         Q.   Was it raining...?
      9
                         A.   No.   No.
     10
                         Q.   ...or anything like that?
     11
                         A.   No, Sir.
     12
                         Q.   And is Highway 321, was it - I know
     13
             you said this was a curvy road at this, coming from
     14
             Newport to Greeneville.      At this particular section
     15
             when you saw him following too closely, was this a
     16
             curvy section or...?
     17
                         A.   Honestly, I guess, that specific
     18
             section I can't, I don't recall if there's a turn, a
     19
             curvy part right there.      I can't, I don't know.
     20
                         Q.   How many tickets do you give for
     21
             following too closely on average a month?
     22
                         A.   Tickets or warning tickets?
     23
                         Q.   Tickets or warning tickets.
     24
                         A.   Combined?
     25
                         Q.   Combined.


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                   WITNESS: TROOPER STIELOW - CROSS, REACH                19

      1
                          A.     Oh, warning tickets, probably two or
      2
             three.   Usually in order for me to give a ticket
      3
             that's going to cause somebody to go to Court over
      4
             it, it'll usually be the result of a crash.         If the
      5
             following too closely results in a crash occurring, I
      6
             will issue a ticket for the following too closely
      7
             violation.    If I stop somebody just to say hey, back
      8
             up a little bit.       You know, you're going to, you're
      9
             too close to them.       You're going to cause a crash.
     10
             You know, just watch, watch what you're doing, that's
     11
             when I'll issue a warning ticket.       You know, it has
     12
             to really be an egregious violation for me to issue a
     13
             warning, or a ticket without a crash occurring.           Now,
     14
             the number will depend on how many crashes I work
     15
             that month.       I would say a fair estimate would be
     16
             four to five a month, give or take a few.         So...
     17
                          Q.     How often do you pull somebody over
     18
             simply for following too closely?       No other traffic
     19
             violation?
     20
                          A.     I would say that once or twice a week.
     21
                          Q.     And this particular day you had - when
     22
             did you receive a - was it a phone call or a radio
     23
             call from TBI?
     24
                          A.     Phone call.
     25
                          Q.     Phone call?


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                   WITNESS: TROOPER STIELOW - CROSS, REACH              20

      1
                         A.     Uh-huh (affirmative).
      2
                         Q.     When did you receive that phone call?
      3
                         A.     The exact time I don't know.     Earlier
      4
             in the day.      I don't...
      5
                         Q.     How close in relation to the stop?      Do
      6
             you recall?
      7
                         A.     Honestly, I have no idea.
      8
                         Q.     And were you given a description of
      9
             the vehicle to look at?
     10
                         A.     Yes, Sir.
     11
                         Q.     To look for?
     12
                         A.     Yes, Sir.
     13
                         Q.     Were you told a particular reason why?
     14
                         A.     No, Sir.
     15
                         Q.     Okay.   So...
     16
                         A.     A lot of times, they, I mean, we do a
     17
             lot of these, get a lot of these phone calls, and we
     18
             usually don't get a lot of specifics.
     19
                         Q.     Okay.   And, I mean, so you didn't
     20
             recall the exact conversation you had with them, but
     21
             was the basis that we're interested in this vehicle.
     22
             If you see a reason pull it over.        Is that...?
     23
                         A.     That's a fair...
     24
                         Q.     ...fair assumption?
     25
                         A.     ...assumption.   Yes, Sir.


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                     WITNESS: TROOPER STIELOW - CROSS, REACH            21

      1
                         Q.    And were you running, were you on the
      2
             road?    Were you on the side of the road when you saw
      3
             Mr. Tullock's vehicle?
      4
                         A.    It seems like, and I - it seems like I
      5
             was stopped along 321 running radar.
      6
                         Q.    Okay.   Did you run radar on Mr.
      7
             Tullock's vehicle?
      8
                         A.    More than likely I did.     Do I remember
      9
             a speed?    No, Sir.
     10
                         Q.    Was he - and to your recollection was
     11
             he going too fast?
     12
                         A.    Not to my - no.    I don't remember
     13
             thinking he was speeding, because, you know, if he
     14
             was speeding I would have wrote him a speeding
     15
             ticket.
     16
                         Q.    Okay.   And did you follow him for any
     17
             length of time?
     18
                         A.    I don't recall.
     19
                         Q.    Okay.
     20
                         A.    Usually I'll try to make a traffic
     21
             stop in a safe place, you know, but if somebody, you
     22
             know, needs pulled over right away, then I don't have
     23
             it, you know, anything to do with that.
     24
                         Q.    Do you recall approximately how far
     25
             behind the vehicle in front of him he was?


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                     WITNESS: TROOPER STIELOW - CROSS, REACH               22

      1
                         A.   An exact distance, no, Sir.       Like I
      2
             said, I just based it on at that time.        When I see
      3
             the vehicles, do I believe that if something happened
      4
             right then the vehicle that's following, could they
      5
             come to a stop in order to avoid hitting the vehicle
      6
             in front, so obviously that distance is going to
      7
             change.    Like I said, if the roads are wet then
      8
             you're going to need to increase that distance.          If
      9
             the roads are dry and it's - then you can maybe, you
     10
             know, get a little closer.
     11
                         Q.   Okay.
     12
                         A.   It's a lot of officer discretion
     13
             involved in that.
     14
                         Q.   That was my next question, was the
     15
             reasonable and prudent standard of this particular
     16
             statute, would you agree that it provides for a wide
     17
             range of opinions on what is reasonable and prudent?
     18
                         A.   Absolutely.
     19
                         Q.   You may look at it as a trooper and
     20
             see that, yes, it is, and another trooper may say no,
     21
             that's not.
     22
                         A.   I think that it's - that's absolutely
     23
             fair.
     24
                         Q.   Okay.   The statute, it's very broad
     25
             discretion?


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                   WITNESS: TROOPER STIELOW - CROSS, REACH              23

      1
                         A.   I think it's - yes, and I think it's
      2
             meant to be, was written to be, to allow for a lot of
      3
             officer discretion because of all the variables that
      4
             go into, you know,...
      5
                         Q.   Okay.
      6
                         A.   ...how that's affected.
      7
                         Q.   Was the vehicle in front of Mr.
      8
             Tullock that he was following too closely, was it -
      9
             do you recall anything about it braking, or was it
     10
             slowing down or...?
     11
                         A.   I don't recall anything.
     12
                         Q.   Okay.   Did you observe the vehicle in
     13
             front of him at all?
     14
                         A.   Oh, absolutely.
     15
                         Q.   Okay.
     16
                         A.   But I don't remember, I mean, was it,
     17
             was it stopping?     I, no, I don't remember it stopping
     18
             to make a turn or anything.
     19
                         Q.   Do you know if this particular section
     20
             of road, the speed limit slows down?
     21
                         A.   I think there's a few different speed
     22
             limits on 321.     I think it changes once you get into
     23
             the city limits, and then as you get out further
     24
             towards Cocke County it speeds up a little bit 'cause
     25
             I think the road, if I - it's been a while since I've


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                   WITNESS: TROOPER STIELOW - CROSS, REACH               24

      1
             been out here, but I think the road widens up to a
      2
             four lane at some point, if I'm not mistaken, and
      3
             then that speed limit goes up.
      4
                         Q.   Okay.   If the car in front of him had
      5
             been slowing down and Mr. Tullock didn't have time to
      6
             react, would he have been too close?        Could he have
      7
             been too close specifically because of that?
      8
                         A.   Well, I think the nature of driving is
      9
             you need to give yourself time to react.        If the car
     10
             in front of you is slowing down, then you need to
     11
             have enough space between you and that vehicle to
     12
             have time to react.
     13
                         Q.   But isn't there - there's a time
     14
             period where you have to react to it?
     15
                         A.   There's going to be...
     16
                         Q.   The car in front of you slows down?
     17
                         A.   There's going to be reactionary time
     18
             between seeing the actual brake lights...
     19
                         Q.   Uh-huh (affirmative).
     20
                         A.   ...and stepping on the brake pedal.
     21
                         Q.   Correct.    That's...
     22
                         A.   But I think that's very, I mean,
     23
             that's minimal, I would assume.
     24
                         Q.   But is it possible for someone to
     25
             temporarily get too close to a vehicle while they're


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                   WITNESS: TROOPER STIELOW - CROSS, REACH              25

      1
             reacting to that?
      2
                          A.   I think that if you get, my personal
      3
             opinion is that if you get too close to the vehicle
      4
             based on that short reaction time, then you're too
      5
             close.
      6
                          Q.   Okay.
      7
                          A.   You need, you need to have enough time
      8
             to be able to see the brake lights and get stopped.
      9
             That's the nature of how accidents occur, is people
     10
             think, oh, I'm, I've got plenty of time.        You know, I
     11
             mean, I've worked a ton of crashes like, "I can't
     12
             believe I hit them.       I thought I had, I thought I had
     13
             plenty of room to get stopped."
     14
                          Q.   Is there any guidelines that you're
     15
             given as far as speed in relation to the car in front
     16
             of you?   Is there any...?
     17
                          A.   I guess I don't really know what
     18
             you're asking.
     19
                          Q.   Is there a - in the driver's manual it
     20
             states that for every ten miles an hour at a certain
     21
             speed you need to be, a certain distance you need to
     22
             be behind.
     23
                          A.   Yeah, but again, that's just -
     24
             everything is based on so many different factors that
     25
             go into that.     I mean, the grade of the road, if


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                   WITNESS: TROOPER STIELOW - CROSS, REACH               26

      1
             you're going up hill or down hill or, like I say,
      2
             again, if it's wet or dry or - so I think it's,
      3
             everything is subjective to the actual, at that
      4
             moment what the conditions of that roadway, that
      5
             actual time period of when this is happening.         Is
      6
             that - did I answer your question?
      7
                         Q.   I - that's fine.     When you pulled over
      8
             Mr. Tullock you ran his driver's license?         Is that
      9
             correct?
     10
                         A.   I'm sure I probably did.      Yes, Sir.
     11
                         Q.   And you were aware that he had a CDL?
     12
                         A.   Okay, yeah.    Not now, but I guess at
     13
             the time I would have been.
     14
                         Q.   And were you aware that Mr. Tullock
     15
             had a good safety record on his CDL?
     16
                         A.   You know, the nature of the CDLs, is
     17
             those guys really try to keep their records clean, so
     18
             I don't recall that, but it doesn't surprise me,
     19
             because in order to keep their job and that CDL,
     20
             they're going to have to have - most companies if you
     21
             get very many violations at all you're gonna, you're
     22
             gonna lose your job, so most guys with CDLs you're
     23
             going to have a fairly good, clean driving history.
     24
                         Q.   Okay.   And did Mr. Tullock tell you
     25
             that he was, that was his nervousness, was the fact


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                     WITNESS: TROOPER STIELOW - CROSS, REACH            27

      1
             that he did have a good CDL record and that he...?
      2
                         A.    I don't recall that, but I - let me
      3
             tell you something about truck drivers and the guys
      4
             with the CDLS, they are quick to tell you, I do not
      5
             need a ticket.     I've got a good driving record, and
      6
             this, you know, anything you can do to help me out
      7
             would be greatly appreciated.       So him saying that at
      8
             the time, I don't recall, but I'd - it wouldn't
      9
             surprise me if he would have said something like
     10
             that.
     11
                         Q.    No other questions, Your Honor.
     12
                         MS. HEBETS:    No additional questions, Your
     13
             Honor.
     14
                         THE COURT:    Thank you, Trooper.
     15
                         TROOPER STIELOW:    Thank you, Sir.
     16
                         THE COURT:    Well, let me ask you just one
     17
             quick question.
     18
                         TROOPER STIELOW:    Okay.
     19


     20


     21


     22


     23


     24


     25




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               WITNESS: TROOPER STIELOW - EXAMINATION BY COURT            28

      1
                         EXAMINATION BY THE COURT:
      2


      3
                         Q.   Now you had heard from Agent Wilhoit?
      4
                         A.   Yes, Sir.
      5
                         Q.   You were looking for this vehicle?
      6
                         A.   I don't believe I was looking
      7
             specifically for this vehicle.       No, Sir, I - you
      8
             know, while working out there if I would have seen
      9
             the vehicle, then that would have, you know,
     10
             triggered a, like oh, that's my - that might be the
     11
             vehicle, you know,...
     12
                         Q.   Okay.   So you...?
     13
                         A.   ...Chucky was talking about.
     14
                         Q.   All right.    So when you affected this
     15
             traffic stop you were unaware at that time that was
     16
             the vehicle that Agent Wilhoit was interested in?
     17
                         A.   I, I was aware that it was a vehicle
     18
             close to the description that he had given me.         You
     19
             know, but sometimes, you know, the description will
     20
             be, you know, look - I mean...
     21
                         Q.   Well, I guess, what I...
     22
                         A.   A gold sedan, you know, well, there's
     23
             a lot of gold sedans.
     24
                         Q.   Was your, was your traffic stop
     25
             pretextual because you were attempting to assist


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               WITNESS: TROOPER STIELOW - EXAMINATION BY COURT          29

      1
             Agent Wilhoit, or was this, was your motivation
      2
             purely and alone at that point the following too
      3
             closely?
      4
                         A.   Absolutely it was the following too
      5
             closely.
      6
                         Q.   Thank you.
      7
                         MS. HEBETS:    Your Honor, may this witness
      8
             be excused?
      9
                         THE COURT:    Yes, Sir, and watch the
     10
             weather.    I've always wanted to tell a trooper that.
     11
                         TROOPER STIELOW:    Thank you, Your Honor.
     12


     13
             THIS CONCLUDES THE TESTIMONY OF TROOPER JACOB STIELOW
     14
             AS PRESENTED IN THIS MATTER.
     15


     16


     17


     18


     19


     20


     21


     22


     23


     24


     25




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                                                                         30

      1
                         THE COURT:    Anything else?
      2
                         MS. HEBETS:    Nothing else on that motion,
      3
             Your Honor.
      4
                         MR. REACH:    Nothing else, Your Honor, on
      5
             that motion.
      6
                         THE COURT:    Well, for whatever it's worth,
      7
             the Tennessee Court of Criminal Appeals in 2002
      8
             addressed the question of whether or not the
      9
             following too closely statute was unconstitutionally
     10
             vague, and the Court of Criminal Appeals said no.           So
     11
             I just - and frankly (PAUSE).       Yeah, I think the
     12
             Sixth Circuit has laid this issue to rest.         Yeah, the
     13
             Sixth Circuit settled this issue.       US V Walton, 58
     14
             Fed. Appx. 753, 2007.      They also rely upon our recent
     15
             decision, US V Sanford, yada, yada, yada in which we
     16
             upheld a probable cause ruling for following more
     17
             closely than is reasonably prudent in violation of
     18
             TCA 58-8-124, and quoting from that case, "Although
     19
             the statute does not define reasonably prudent, the
     20
             Tennessee Driver's Manual provides that a vehicle
     21
             should maintain at least one car length for every ten
     22
             miles per hour.     We conclude that a panel opinion
     23
             further addressing these issues would serve no
     24
             jurisprudential purpose."      So there it is.     What's
     25
             next?


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                                                                         31

      1
                          MS. HEBETS:    I, there are two motions left
      2
             with witnesses, and whichever the Court wants to take
      3
             first is fine with the United States.
      4
                          THE COURT:    Well, let's see.    Mr. Reach,
      5
             does that exhaust your panoply of Motions to
      6
             Suppress?
      7
                          MR. REACH:    No, Your Honor.    I have one of
      8
             the remaining motions, Your Honor.
      9
                          THE COURT:    Okay.   Well, I'm just here.
     10
             Let's do Mr., Mr. Tullock's.       This is a Motion to
     11
             Suppress statements to the agents when they arrived
     12
             at the house, right?
     13
                          MS. HEBETS:    Correct.
     14
                          MR. REACH:    Yes, Your Honor.
     15
                          THE COURT:    Okay.
     16
                          MS. HEBETS:    The United States has two
     17
             witnesses, Special Agent Greg Smith of the FBI and
     18
             Special Agent Jim Williams of the TBI.
     19
                          THE COURT:    All right.   Mr. Reach, do you
     20
             have any witnesses that you would call?
     21
                          MR. REACH:    No, Your Honor.
     22
                          THE COURT:    Okay.   Do you request the Rule?
     23
                          MR. REACH:    Yes, Your Honor.
     24
                          THE COURT:    Okay.   Call a witness and
     25
             I'll...


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                                                                        32

      1
                         MS. HEBETS:    The United States would call
      2
             Special Agent Greg Smith first since Mr. Williams is
      3
             closer to the door.
      4
                         THE COURT:    Okay.
      5


      6
             (WITNESS IS SWORN)
      7


      8
                         CLERK:   Please be seated.
      9


     10


     11


     12


     13


     14


     15


     16


     17


     18


     19


     20


     21


     22


     23


     24


     25




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                WITNESS: SPECIAL AGENT SMITH - DIRECT, HEBETS           33

      1
                         SPECIAL AGENT GREGORY SMITH, after first
      2
             being duly sworn, testified as follows:
      3


      4
                         DIRECT EXAMINATION BY MS. HEBETS:
      5


      6
                         Q.   Can you state your name, please?
      7
                         A.   Gregory Smith.
      8
                         Q.   And common spelling?
      9
                         A.   It is.
     10
                         Q.   All right.    And how are you employed?
     11
                         A.   I'm a Special Agent with the Federal
     12
             Bureau of Investigation.
     13
                         Q.   How long have you been with the FBI?
     14
                         A.   Over twelve years.
     15
                         Q.   And what are your responsibilities
     16
             with the FBI?
     17
                         A.   Primarily I'm charged with
     18
             investigating crimes and violation of Title 21, which
     19
             is the federal drug offenses.
     20
                         Q.   And how long have you been doing that?
     21
                         A.   Exclusively for the past seven, almost
     22
             eight years.
     23
                         Q.   Now I want to ask you about an
     24
             investigation you participated in back in 2000...end
     25
             of 2009, beginning of 2010 and through 2010, actually


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                WITNESS: SPECIAL AGENT SMITH - DIRECT, HEBETS           34

      1
             into 2011.    Are you familiar with this investigation?
      2
                          A.    I am.
      3
                          Q.    And are you familiar with an
      4
             individual by the name of Rodney Tullock?
      5
                          A.    I am.
      6
                          Q.    And he's in the Courtroom seated at
      7
             the first table, correct?
      8
                          A.    He is.
      9
                          Q.    Did you have occasion in October of
     10
             last year to interview or to meet with Mr. Tullock?
     11
                          A.    I did.
     12
                          Q.    Could you tell the Court what the
     13
             circumstances were of that meeting?
     14
                          A.    Yes, Ma'am.    Myself and ASAC Williams
     15
             with the TBI went to Mr. Tullock's residence after 9
     16
             but before ten o'clock in the morning, and knocked on
     17
             his door, and asked to speak with him.        I believe his
     18
             girlfriend actually answered the door first, and we
     19
             asked if Mr. Tullock was present.
     20
                          THE COURT:     This is Mr. Tullock's house?
     21
                          A.    It is.
     22
                          THE COURT:     Where is it?   I'm sorry?
     23
                          A.    I believe it's 925 Walker Town Road in
     24
             Afton, Tennessee.      We knocked, I knocked - he knocked
     25
             on the door.      I believe his girlfriend answered the


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                WITNESS: SPECIAL AGENT SMITH - DIRECT, HEBETS           35

      1
             door, and we asked if Mr. Tullock was at the
      2
             residence, and she indicated that he was, and when he
      3
             came to the door we asked if we could speak to him.
      4
             He said that we could and invited us into the
      5
             residence.
      6
                          Q.   Was it just the two of you?
      7
                          A.   It was just the two of us.
      8
                          Q.   Special, or Assistant Special Agent in
      9
             Charge?    Is that...?
     10
                          A.   Correct.
     11
                          Q.   ...correct?   Mr., or Williams,
     12
             correct?
     13
                          A.   Correct.
     14
                          Q.   Okay.   Were you in uniform?
     15
                          A.   I was dressed casually.     I don't have
     16
             a uniform per se.     I was not in a suit.     I was in
     17
             probably khakis or jeans and a collared shirt.
     18
                          Q.   And did you have your gun on you?
     19
                          A.   I had my weapon, but it wasn't out.
     20
             It was not visible.
     21
                          Q.   What about ASAC Williams?
     22
                          A.   I assume he had a weapon, but I don't
     23
             recall seeing it, so I don't believe it was visible.
     24
                          Q.   So what happened - and Mr. Tullock
     25
             invited you into the house.      What happened then?


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                WITNESS: SPECIAL AGENT SMITH - DIRECT, HEBETS           36

      1
                          A.   He asked us to come into the first
      2
             room on the left, which I would call the TV room, and
      3
             there's two couches and a television there.         The
      4
             television was on.     We sat down, and ASAC Williams
      5
             basically - I'm sorry.      Assistant Special Agent in
      6
             Charge Williams basically laid out why we were there,
      7
             and that we wished to speak to Mr. Tullock, and that,
      8
             that some of the things we may talk about may be
      9
             somewhat embarrassing or private, and if Mr. Tullock
     10
             would like, we could go for a ride in ASAC Williams'
     11
             vehicle or we could - if he, if he was comfortable he
     12
             could ask his girlfriend maybe to go shopping or to
     13
             give us some privacy so that we could talk to him, so
     14
             that he would feel more comfortable in discussing
     15
             some of the issues that we were going to bring up.
     16
             But we left it up to him decide what he wanted to do.
     17
                          Q.   And how was Mr. Tullock acting at this
     18
             time?   Was he...?
     19
                          A.   He seemed nervous, which is not
     20
             uncommon.    When a federal agent and a state agent
     21
             come to your door and want to talk to you there's a
     22
             tendency for someone to be nervous.
     23
                          Q.   Did he ever tell you that he didn't
     24
             want to talk with you?
     25
                          A.   No, Ma'am.


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                WITNESS: SPECIAL AGENT SMITH - DIRECT, HEBETS           37

      1
                         Q.   Did he ever tell you that he wanted
      2
             you to leave his house?
      3
                         A.   No, Ma'am.
      4
                         Q.   And, just for clarification, he was
      5
             not under arrest?
      6
                         A.   That's correct.
      7
                         Q.   And you, neither you or Assistant
      8
             Special Agent in Charge Williams read him his rights
      9
             per Miranda?
     10
                         A.   Correct.
     11
                         THE COURT:   I'm sorry?
     12
                         Q.   Neither of them read him his rights
     13
             per Miranda, and the answer is correct, right?
     14
                         A.   We did not read him his rights.
     15
                         Q.   All right.    Now did Mr. Tullock agree
     16
             to speak with you?
     17
                         A.   He did.
     18
                         Q.   And did he resolve whether he wanted
     19
             to speak with you in the residence or go with you in
     20
             a vehicle or what to do with his girlfriend?
     21
                         A.   He said that he would ask her maybe to
     22
             go shopping, and he left the room for a short period
     23
             of time and had a conversation with her outside of
     24
             our presence.    Came back in and indicated that she
     25
             was going to shopping.      She came in and said goodbye


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                WITNESS: SPECIAL AGENT SMITH - DIRECT, HEBETS           38

      1
             to us and to Mr. Tullock, and then left the
      2
             residence.
      3
                          Q.   And then what happened after that?
      4
                          A.   ASAC Williams and myself began to ask
      5
             Mr. Tullock questions regarding his relationship with
      6
             one of the co-conspirators in this investigation, and
      7
             Mr. Tullock basically, basically detailed his
      8
             relationship with Mr., with one of the co-
      9
             conspirators and his criminal involvement with him.
     10
                          Q.   And Mr. Tullock also discussed his
     11
             criminal activity?
     12
                          A.   Correct.
     13
                          Q.   In the distribution of oxycodone?
     14
                          A.   That is correct.
     15
                          Q.   At any time during the conversation
     16
             did either you or Assistant Special Agent in Charge
     17
             Williams raise your voice to Mr. Tullock?
     18
                          A.   No, Ma'am.
     19
                          Q.   Threatened him in any way?
     20
                          A.   The conversation was very similar in
     21
             tone to the one we're having right here.
     22
                          Q.   Okay.   Did Mr. Tullock appear to be
     23
             understanding what you were asking him?
     24
                          A.   He did.
     25
                          Q.   Was he at all under the influence of


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                WITNESS: SPECIAL AGENT SMITH - DIRECT, HEBETS           39

      1
             anything that you were aware of?
      2
                          A.   Not to my knowledge, and not that I
      3
             could ascertain by his demeanor.
      4
                          Q.   And he voluntarily answered your
      5
             questions?
      6
                          A.   He did.
      7
                          Q.   And provided the information?
      8
                          A.   He did.
      9
                          Q.   And in fact, he agreed to cooperate
     10
             with law enforcement at that time?
     11
                          A.   The interview went so well that ASAC
     12
             Williams and I basically asked Mr. Tullock if he
     13
             would consider cooperating against some of his co-
     14
             defendants in the process of gathering further
     15
             evidence, and he seemed amenable to that, and we
     16
             discussed what possible scenarios that might entail
     17
             where he would be involved.
     18
                          Q.   And what happened after that?
     19
                          A.   We left that meeting, and then we
     20
             agreed to meet - the meeting occurred on a Friday,
     21
             and we agreed to meet the following week.         Myself and
     22
             ASAC Williams wanted it to occur earlier in the week,
     23
             but Mr. Tullock, I believe, had something going on,
     24
             so we didn't meet until Wednesday or Thursday of the
     25
             following week.


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                WITNESS: SPECIAL AGENT SMITH - DIRECT, HEBETS           40

      1
                         Q.   And what happened at that meeting?
      2
                         A.   We met at a park in Newport, and
      3
             myself, ASAC Williams and two other TBI Agents, Agent
      4
             McNamara and Agent Thompson, I believe, were present.
      5
             Mr. Tullock showed up.      He got into Mr., or ASAC
      6
             Williams' vehicle, which is a four wheel truck, with
      7
             myself, ASAC Williams and another TBI Agent.         I
      8
             believe Agent McNamara and Thompson were in the
      9
             conversation intermittently, both were in there
     10
             intermittently at this time.       And Mr. Tullock had
     11
             some concerns about cooperating with the Government
     12
             at that point.     He was nervous, and that's not
     13
             uncommon in those situations, so myself and ASAC
     14
             Williams had a lengthy discussion with him about his
     15
             concerns to see if we could overcome them or address
     16
             them.   We were not able to do that, and he left.
     17
                         Q.   So he voluntarily showed up at the
     18
             second meeting with you and other agents?
     19
                         A.   He did.
     20
                         Q.   And when he said he wasn't no longer
     21
             interested you allowed him to leave?
     22
                         A.   Correct.
     23
                         Q.   Okay.   I have no further questions at
     24
             this time, Your Honor.
     25




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                   WITNESS: SPECIAL AGENT SMITH - CROSS, REACH          41

      1
                         CROSS EXAMINATION BY MR. REACH:
      2


      3
                         Q.   Agent Smith, when you arrived did both
      4
             of you identify yourselves as agents of the
      5
             Government?
      6
                         A.   Most definitely.
      7
                         Q.   Okay.   And did you show your badges to
      8
             him?
      9
                         A.   I showed my credentials...
     10
                         Q.   Credentials?
     11
                         A.   ...with my picture, and it says
     12
             Special Agent for the Federal Bureau of
     13
             Investigation.
     14
                         Q.   Okay.   And at any time was he told
     15
             that he was a suspect in a conspiracy?
     16
                         A.   He was told in broad terms that he'd
     17
             been involved with Mr. McMahan, specifically a
     18
             traffic stop, which I think we'd detailed earlier
     19
             here, and other things that would lead him to believe
     20
             that he was being investigated, yeah.
     21
                         Q.   Okay.   And he was - you also told him
     22
             that the traffic stop was partially, you were behind
     23
             it?
     24
                         A.   ASAC Williams referenced the traffic
     25
             stop where he was stopped and had pills with him, in


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                 WITNESS: SPECIAL AGENT SMITH - CROSS, REACH            42

      1
             his possession.
      2
                         Q.    Okay.   When you came to him and you
      3
             first started talking to him, did you ever tell him
      4
             that this is a voluntary conversation?
      5
                         A.    ASAC Williams handled the
      6
             conversation.     I recall him saying that this was his
      7
             opportunity basically to help himself, and then if he
      8
             didn't want to talk to us that was his choice.
      9
                         Q.    Okay.   Was he told at any time that he
     10
             could tell you to leave?
     11
                         A.    I don't remember those specific words,
     12
             but we did ask to be invited in and basically were
     13
             there at his grace at that point, and asked, you
     14
             know, what would he be comfortable with as the
     15
             interview continued forward.
     16
                         Q.    Okay.   Well, was he ever told the
     17
             words "If you tell us to leave we'll leave"?
     18
                         A.    I don't remember that specific
     19
             statement, but I do know, as I said, we made
     20
             indications that this was a voluntary interview.
     21
                         Q.    What other indications did you make
     22
             this was voluntary interview?
     23
                         A.    This was his opportunity to help
     24
             himself out.     If he didn't want to talk to us he
     25
             didn't have to.


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                 WITNESS: SPECIAL AGENT SMITH - CROSS, REACH            43

      1
                         Q.   Okay.
      2
                         A.   We'd like to continue to talk to you
      3
             further.    We have a couple of options.      What would
      4
             you be more comfortable with, things of that nature.
      5
                         Q.   Okay.    And then you gave him two
      6
             options essentially; he could either go in the car
      7
             with you or with - inside your car, or he could ask
      8
             his girlfriend to leave the house?
      9
                         A.   Right.
     10
                         Q.   Either or, and rather than going in
     11
             the car with you he told his girlfriend to leave?
     12
                         A.   He asked her to go shopping, yes.
     13
             Well, I wasn't present for the conversation.         He told
     14
             her something.
     15
                         Q.   But he - she left, one way or the
     16
             other?
     17
                         A.   Right.
     18
                         Q.   Do you recall, was this early in the
     19
             conversation that you told him...?
     20
                         A.   It was fairly early in the
     21
             conversation, yes.     It was within the first few
     22
             minutes of coming into the house.
     23
                         Q.   Okay.    And was the only offer made to
     24
             him to go for a ride in one of your vehicles?
     25
                         A.   Correct.


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                 WITNESS: SPECIAL AGENT SMITH - CROSS, REACH            44

      1
                          Q.   Okay.   You weren't going to get in
      2
             his?
      3
                          A.   Probably not.    No, Sir.
      4
                          Q.   Okay.   And after the girlfriend left
      5
             the residence, and you began discussing, was that
      6
             when he was told the real specifics about what he was
      7
             there for?    What you were there for?
      8
                          A.   Yeah, we, we laid out that, hey, this
      9
             is what we're here to talk to you about, certain
     10
             individuals, by name, and asked him how he knew them
     11
             and his relationship with them.
     12
                          Q.   Okay.   Did Mr. Tullock ever tell you
     13
             that he had come in off the road that morning at any
     14
             point in time?
     15
                          A.   I recall that he was sleeping, or he
     16
             appeared to have been.      He come out of the bedroom,
     17
             so I assume he was sleeping, but I don't recall him
     18
             telling that he'd just come off the road, no.
     19
                          Q.   Was he sleepy during your
     20
             conversation?
     21
                          A.   He seemed completely lucid, Sir.
     22
                          Q.   Okay.   Was he ever threatened with
     23
             arrest?
     24
                          A.   Absolutely not.
     25
                          Q.   Okay.   Was he ever told that if he


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                 WITNESS: SPECIAL AGENT SMITH - CROSS, REACH            45

      1
             didn't talk with you that it would be bad for him to
      2
             not talk with you?
      3
                         A.    I don't remember those specific words,
      4
             but I know that we, we let him know that we knew a
      5
             lot of his activities, so I would assume a prudent
      6
             man would think that he might have some negative
      7
             consequences.
      8
                         Q.    Okay.   All right.   Where were you, and
      9
             now I know you said this was in sort of a TV room, as
     10
             you called it, inside of his house.
     11
                         A.    Yes, Sir.
     12
                         Q.    Do you recall where the two of you
     13
             might have been sitting in relation to Mr. Tullock?
     14
                         A.    I do.
     15
                         Q.    Where were you?
     16
                         A.    If you come into his house through the
     17
             front door, there's a short wall, and there's a door
     18
             to the left.     That's the room that we went into.       As
     19
             you go into that room, at that time there was a couch
     20
             along that wall that I described, and that's where I
     21
             sat.   There was a coffee table, and then there was a
     22
             shorter couch perpendicular to the longer couch, and
     23
             that's where he and ASAC Williams sat.
     24
                         Q.    Okay.   Were you each of you, were each
     25
             of you on one side of him?      Is that...?


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                 WITNESS: SPECIAL AGENT SMITH - CROSS, REACH            46

      1
                         A.   It was more of a, right - I was more
      2
             directly across from him, based on how the couches
      3
             were sitting, my angle of my body, and ASAC Williams
      4
             was next to him.
      5
                         Q.   Okay.    Was he shown anything, such as
      6
             pictures, video, anything like that?
      7
                         A.   No.
      8
                         Q.   Okay.    How long was the conversation?
      9
                         A.   As I recall, it wasn't more than an
     10
             hour, and part of that time, as I said, was at the
     11
             end we were discussing what his options might be if
     12
             he didn't - with regards to cooperation and giving
     13
             him potential scenarios as to what might happen.
     14
                         Q.   Was he told that he could say no to
     15
             cooperation?
     16
                         A.   Most definitely.
     17
                         Q.   No other questions, Your Honor.
     18
                         MS. HEBETS:    Just one follow up, Your
     19
             Honor, that I forgot to ask.
     20


     21


     22


     23


     24


     25




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               WITNESS: SPECIAL AGENT SMITH - REDIRECT, HEBETS          47

      1
                         REDIRECT EXAMINATION BY MS. HEBETS:
      2


      3
                         Q.   Agent Smith, if, when you knocked on
      4
             the door, Mr. Tullock had said I'm not interesting in
      5
             talking, what would you have done?
      6
                         A.   Left.
      7
                         Q.   Nothing further, Your Honor.
      8


      9
             THIS CONCLUDES THE TESTIMONY OF SPECIAL AGENT GREGORY
     10
             SMITH AS PRESENTED IN THIS MATTER.
     11


     12
                         MS. HEBETS:    The United States calls
     13
             Special Agent, or Assistant Special Agent in Charge
     14
             Jim Williams.
     15


     16
             (WITNESS IS SWORN)
     17


     18
                         CLERK:   Please be seated.
     19


     20


     21


     22


     23


     24


     25




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                  WITNESS - AGENT WILLIAMS - DIRECT, HEBETS             48

      1
                         AGENT JIM WILLIAMS, after first being duly
      2
             sworn, testified as follows:
      3


      4
                         DIRECT EXAMINATION BY MS. HEBETS:
      5


      6
                         Q.    Can you state your name for the
      7
             record, please?
      8
                         A.    My name is Jim Williams.
      9
                         Q.    And common spelling of first and
     10
             last...?
     11
                         A.    W-I-L-L-I-A-M-S.
     12
                         Q.    How are you employed?
     13
                         A.    I'm employed by the Tennessee Bureau
     14
             of Investigation.
     15
                         Q.    And what is your title?
     16
                         A.    Assistant Special Agent in Charge for
     17
             the Upper East Drug Investigative Division.
     18
                         Q.    What are those responsibilities?
     19
                         A.    It's basically supervising the, the
     20
             agents in the drug division on their day to day
     21
             operations and investigations.
     22
                         Q.    And...?
     23
                         A.    Assisting them on investigations and
     24
             filling in as needed.
     25
                         Q.    So you also participate in


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                  WITNESS - AGENT WILLIAMS - DIRECT, HEBETS             49

      1
             investigations?     You're not just solely a supervisor?
      2
                         A.    That's correct.
      3
                         Q.    Okay.   And how long have you been
      4
             working as a law enforcement agent in drug
      5
             trafficking investigations?
      6
                         A.    It'll be twenty years February 1st.
      7
                         Q.    Now did you participate in some degree
      8
             in an investigation involving Rodney Tullock and
      9
             others?
     10
                         A.    Yes, Ma'am.
     11
                         Q.    And specifically I want to jump right
     12
             to October 29th 2010.      Do you recall that date?
     13
                         A.    Yes, Ma'am.
     14
                         Q.    And were you with Special Agent Smith
     15
             of the FBI on that date?
     16
                         A.    Yes, I was.
     17
                         Q.    Okay.   What, what - can you tell the
     18
             Court what happened on that date as it relates to Mr.
     19
             Tullock?
     20
                         A.    Agent Smith and I traveled to Mr.
     21
             Tullock's residence on Walker Town Road here in
     22
             Greene County to attempt to talk to him and try to
     23
             interview him regarding the William McMahan
     24
             investigation.
     25
                         Q.    Now were you intending to arrest him


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                  WITNESS - AGENT WILLIAMS - DIRECT, HEBETS               50

      1
             on that date?
      2
                         A.   No, Ma'am, we were not.
      3
                         Q.   Okay.   So what happened when you got
      4
             to the house?
      5
                         A.   We knocked on the door.      I don't
      6
             recall if Mr. Tullock or the female come to the door
      7
             first, but we were, we were invited inside.         We wound
      8
             up speaking to Mr. Tullock just inside the doorway.
      9
             Seems like there was a stairwell there besides it and
     10
             rooms off to each side.      We told him, told him we
     11
             needed to talk to him, and that we, you know, it was
     12
             serious information we had to discuss with him.          I
     13
             don't recall if he may have indicated that he didn't
     14
             want to speak in front of his wife or girlfriend; I'm
     15
             not sure what, what the relationship is, however, it
     16
             was eventually determined that she would, she would
     17
             leave the residence for a period of time, I think, to
     18
             go shopping or run some errands or something, and
     19
             then Agent Smith and Mr. Tullock and I sat down in
     20
             the living room of his residence and continued the
     21
             discussion.
     22
                         Q.   Let me ask you.     Back when you were
     23
             first talking to Mr. Tullock and you explained that
     24
             you wanted to ask him some questions, did you tell
     25
             him he was under arrest?


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                    WITNESS - AGENT WILLIAMS - DIRECT, HEBETS            51

      1
                         A.    No, Ma'am.
      2
                         Q.    Did you tell him that he had to answer
      3
             your questions?
      4
                         A.    No, Ma'am.
      5
                         Q.    Did you tell him that, or did you
      6
             advise him of his Miranda Rights?
      7
                         A.    No, Ma'am.
      8
                         Q.    Did you tell Mr. Tullock - what did
      9
             you tell - let me phrase it more open ended.         What
     10
             did you tell him with respect to his ability to talk
     11
             or not talk?
     12
                         A.    Told him, told him he didn't have to
     13
             talk to us, but we did tell him that, you know, that
     14
             he was potentially facing some, some problems down
     15
             the road, and this would be a good opportunity for
     16
             him, you know, to cooperate if he, if he chose to.
     17
             But he was told he did not have to speak to us.
     18
                         Q.    And did Mr. Tullock agree to speak to
     19
             you?
     20
                         A.    Yes, Ma'am.
     21
                         Q.    All right.    Did he ever tell you I'm
     22
             not interested in talking?
     23
                         A.    No, Ma'am.
     24
                         Q.    Okay.   On that date, if he had told
     25
             you I'm not interested in talking, what would you


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                  WITNESS - AGENT WILLIAMS - DIRECT, HEBETS             52

      1
             have done?
      2
                          A.   We would have, we would have left.
      3
                          Q.   So Mr. Tullock and you and Agent Smith
      4
             sit down in the living room and you speak to him
      5
             about his involvement in this drug trafficking,
      6
             correct?
      7
                          A.   Yes, Ma'am.
      8
                          Q.   And he provided information?
      9
                          A.   Yes, he did.
     10
                          Q.   During - how long did that
     11
             conversation last?
     12
                          A.   I don't recall exactly.     I, I would
     13
             estimate an hour, maybe an hour and a half.         It
     14
             wasn't a real long interview or anything like that.
     15
                          Q.   At any point during that interview did
     16
             Mr. Tullock tell you he was, he didn't want to answer
     17
             any more questions?
     18
                          A.   No, Ma'am.
     19
                          Q.   Or he didn't want to talk any more?
     20
                          A.   No, Ma'am.    As a matter of fact, we,
     21
             we actually made arrangements to talk in the future.
     22
             When we left there we felt like there was a strong
     23
             possibility he would be, he would want to continue
     24
             the conversation in the future.
     25
                          Q.   Okay.   Did you or Agent Smith ever


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                  WITNESS - AGENT WILLIAMS - DIRECT, HEBETS             53

      1
             threaten him in any way?
      2
                          A.   No,...
      3
                          Q.   Verbally?
      4
                          A.   No, Ma'am.
      5
                          Q.   Physically?
      6
                          A.   No, Ma'am.
      7
                          Q.   Did you ever draw your weapon?
      8
                          A.   No, Ma'am.
      9
                          Q.   Was your weapon visible?
     10
                          A.   No, Ma'am, it would not have been
     11
             visible.
     12
                          Q.   Okay.    Did Mr. Tullock appear to
     13
             understand what was going on?
     14
                          A.   Yes, he did.
     15
                          Q.   Did he appear to - was he, appear
     16
             intoxicated at all?
     17
                          A.   No, Ma'am.
     18
                          Q.   Under the influence of any drugs of
     19
             any kind?
     20
                          A.   Didn't appear so, no.
     21
                          Q.   And you said that Mr. Tullock agreed
     22
             to meet with you at a later date, correct?
     23
                          A.   Yes.
     24
                          Q.   And did he, in fact, meet with you?
     25
                          A.   Yes, he did.


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                  WITNESS - AGENT WILLIAMS - DIRECT, HEBETS             54

      1
                         Q.   And what was the circumstances, or
      2
             what happened there?
      3
                         A.   When we left the meeting on the 29th
      4
             we had, or during the meeting on the 29th we'd had
      5
             discussions about him providing substantial
      6
             assistance in this investigation, and I'd given, I
      7
             think Agent Smith and I both had given him our phone
      8
             numbers, however I think he contacted me the
      9
             following week, and we agreed to meet in Newport.
     10
             The purpose, I felt like that the purpose of the
     11
             meeting was going to be to attempt further
     12
             investigation toward Mr. McMahan.       We met with him at
     13
             a city park there in Newport.       Myself and Agent Smith
     14
             and Agent McNamara met with him in my vehicle, and we
     15
             discussed did he have more questions about the way,
     16
             you know, the situation, what we were expecting from
     17
             him in terms of his cooperation and all that.         I
     18
             don't recall how long we spoke with him, but by the
     19
             end of it he basically, he basically said, "Fellows,
     20
             I'm not going to do it."      And then he got out of the
     21
             truck and left, and I assume went back to
     22
             Greeneville.
     23
                         Q.   You didn't, at that point when he said
     24
             he didn't want to do it, you didn't threaten him in
     25
             any way?


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                    WITNESS - AGENT WILLIAMS - DIRECT, HEBETS           55

      1
                         A.   No.
      2
                         Q.   Did you have any further contact with
      3
             him?
      4
                         A.   No, Ma'am.    I don't recall having
      5
             spoken with him since.
      6
                         Q.   Okay.   I have no further questions.
      7


      8


      9


     10


     11


     12


     13


     14


     15


     16


     17


     18


     19


     20


     21


     22


     23


     24


     25




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                    WITNESS: AGENT WILLIAMS - CROSS, REACH               56

      1
                          CROSS EXAMINATION BY MR. REACH:
      2


      3
                          Q.   Agent Williams, when you went out to
      4
             Mr. Tullock's house he was a suspect in a conspiracy,
      5
             was he not?
      6
                          A.   Yes, he was.
      7
                          Q.   And you went out there to talk with
      8
             him about his dealings with William McMahan, is that
      9
             correct?
     10
                          A.   That was, that was what we were hoping
     11
             would happen.
     12
                          Q.   Okay.   And just to clarify, when you
     13
             first made contact with Mr. Tullock, did you say that
     14
             you had serious information to talk with him about?
     15
             I thought that, that was the words that you used?
     16
                          A.   I may have used that in my previous
     17
             testimony.    I don't, I don't recall if those were my
     18
             exact words or not, however it would have, it
     19
             wouldn't surprise me if I did tell him it was
     20
             serious, because basically it would have been.         If
     21
             those charges were ultimately levied against they
     22
             would be serious charges.
     23
                          Q.   Okay.
     24
                          A.   So it would not have surprised me to
     25
             have used those terms.


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                     WITNESS: AGENT WILLIAMS - CROSS, REACH             57

      1
                         Q.   Was he ever told that he would be
      2
             arrested if he didn't talk with you?
      3
                         A.   No, Sir.
      4
                         Q.   Or that he would be charged with
      5
             something if he didn't talk with you?
      6
                         A.   No, Sir, absolutely not.
      7
                         Q.   And at some point in time was he given
      8
             an option to leave in a car with you?        Do you recall
      9
             that?
     10
                         A.   He, he expressed reluctance to speak
     11
             in front of, and there again, I don't know if it's -
     12
             the, the lady, and I think we offered.        Well, you
     13
             know, we can go, we can drive down the road and find
     14
             a place and sit and talk, which is not uncommon to
     15
             do, or we can stay here and talk.       And then I think
     16
             he asked her to leave and, and give us, give us
     17
             privacy for him to talk, because I recall sitting in
     18
             the living room while she was getting ready, and
     19
             basically we just made small talk until she left, and
     20
             then once, once she left you could tell he was ready
     21
             to talk, and that's when we started the interview.
     22
                         Q.   And the total conversation lasted
     23
             about an hour?
     24
                         A.   That's...
     25
                         Q.   Right around?


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                    WITNESS: AGENT WILLIAMS - CROSS, REACH              58

      1
                          A.   ...to the best of my recollection.
      2
                          Q.   Okay.
      3
                          A.   It could be more, could be less.
      4
                          Q.   Was he ever, was it ever related to
      5
             him that if he didn't talk to you something worse
      6
             could happen to him other than what he was already
      7
             suspected of?
      8
                          A.   No, Sir.    Absolutely not.
      9
                          Q.   Where were you sitting in relation to
     10
             Mr. Tullock while you were inside his house?
     11
                          A.   I was sitting beside him on the couch.
     12
                          Q.   Okay.    And where was Agent Smith at
     13
             that time?
     14
                          A.   He was across the room on a - there
     15
             was a - it was either a footstool or an ottoman-type
     16
             or some, some type of a chair across the living room.
     17
                          Q.   Okay.    At any point in time was he
     18
             told that this is a voluntary conversation; you can
     19
             ask us to leave at any time?
     20
                          A.   Told him he didn't have to talk to us
     21
             if he didn't want to talk to us.       I don't recall if
     22
             I, if I told him that he could tell us to leave, but
     23
             he was told that he didn't have to speak with us.
     24
                          Q.   No other questions, Your Honor.
     25
                          MS. HEBETS:   No further questions, Your


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                                                                        59

      1
             Honor.
      2


      3
             THIS CONCLUDES THE TESTIMONY OF ASSISTANT SPECIAL
      4
             AGENT JIM WILLIAMS AS PRESENTED IN THIS MATTER.
      5


      6
                         THE COURT:    Any other witnesses?
      7
                         MS. HEBETS:    No, Your Honor.
      8
                         MR. REACH:    No, Your Honor.
      9
                         THE COURT:    This brings us to Mr. Leonard's
     10
             Motion to Suppress.
     11
                         MR. REACH:    Your Honor, may Mr. Tullock and
     12
             I be excused?    I need to get to Johnson City for
     13
             another court appearance.
     14
                         THE COURT:    No problem with me.
     15
                         MR. REACH:    Thank you, Your Honor.
     16
                         THE COURT:    Ms. Hebets, you got any
     17
             problems with that?
     18
                         MS. HEBETS:    No, Your Honor.
     19
                         THE COURT:    Okay.
     20
                         MR. REACH:    Thank you, Your Honor.
     21
                         THE COURT:    Are we ready to proceed on this
     22
             motion?
     23
                         MS. HEBETS:    Yes, Your Honor.
     24
                         THE COURT:    Who's going to testify.
     25
                         MS. HEBETS:    Multiple people, Your Honor.


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                                                                        60

      1
             Basically everyone who's sitting back there is a
      2
             potential witness except for Agent Williams.
      3
                         THE COURT:    I'm sorry.   Except for who?
      4
                         MS. HEBETS:    Special Agent Williams.
      5
                         THE COURT:    Well, is the Rule requested?
      6
                         MR. LEONARD:    Yes, Your Honor.
      7
                         THE COURT:    Pick a witness, Ms. Hebets, and
      8
             let's excuse the rest.
      9
                         MS. HEBETS:    The United States calls Kevin
     10
             Poe.
     11


     12
             (WITNESS IS SWORN)
     13


     14
                         CLERK:   Please be seated.
     15


     16


     17


     18


     19


     20


     21


     22


     23


     24


     25




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                       WITNESS: KEVIN POE - DIRECT, HEBETS              61

      1
                          KEVIN POE, after first being duly sworn,
      2
             testified as follows:
      3


      4
                          DIRECT EXAMINATION BY MS. HEBETS:
      5


      6
                          Q.   Can you state your name for the
      7
             record?
      8
                          A.   Kevin Poe.
      9
                          Q.   How do you spell your last name?
     10
                          A.   P-O-E.
     11
                          Q.   And how are you currently employed
     12
             right now?
     13
                          A.   I work for the Jefferson County
     14
             Circuit Court.
     15
                          Q.   How long have you been in that job?
     16
                          A.   A little over three months.
     17
                          Q.   Okay.    Prior to that where were you
     18
             working?
     19
                          A.   The Jefferson County Sheriff's
     20
             Department.
     21
                          Q.   And how long - well, what was your
     22
             role at the Sheriff's Department?
     23
                          A.   I was a deputy, patrol deputy.
     24
                          Q.   And how long were you with the
     25
             Sheriff's Department?


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                      WITNESS: KEVIN POE - DIRECT, HEBETS               62

      1
                         A.   Four years.
      2
                         Q.   And I want to call your attention back
      3
             to May 1st of 2010.      Well, let me back up.     As a
      4
             deputy with Jefferson County what were your, what
      5
             were your typical responsibilities?
      6
                         A.   General public safety, which would
      7
             include responding to calls from the public and
      8
             enforcing traffic laws around the area.
      9
                         Q.   Okay.    Now I call your attention back
     10
             to May 1st of 2010.      Do you recall that date?
     11
                         A.   Yes.
     12
                         Q.   And how were you employed on that
     13
             date?
     14
                         A.   As a deputy with the Sheriff's
     15
             Department.
     16
                         Q.   Okay.    Do you remember a request to
     17
             assist in an investigation on that date?
     18
                         A.   I do.
     19
                         Q.   And who contacted you about that?
     20
                         A.   Drug Task Force Agent Todd Coleman.
     21
                         Q.   Okay.    Were you on duty already?
     22
                         A.   I was.
     23
                         Q.   And were you in a marked patrol car?
     24
                         A.   I was.
     25
                         Q.   And full uniform?


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                      WITNESS: KEVIN POE - DIRECT, HEBETS               63

      1
                          A.   Yes, Ma'am.
      2
                          Q.   All right.    Based on what Mr., or
      3
             Agent Coleman told you, what, what were you intending
      4
             to do that day?
      5
                          A.   The information I was given that there
      6
             was a red GMC Silverado coming eastbound on
      7
             I-40, that if I could develop my own PC for the stop
      8
             to do so.
      9
                          Q.   Did you at any point make contact with
     10
             or observe this red, a red GMC pickup truck?
     11
                          A.   I did.
     12
                          Q.   And where would that have been?
     13
                          A.   I-40 at Exhibit 417, just west of
     14
             Exhibit 417.
     15
                          Q.   And where were you, do you recall,
     16
             when you observed that car, truck?
     17
                          A.   Yes, Ma'am.    There's an on ramp, the
     18
             eastbound on ramp, shortly past the on ramp I was
     19
             stationary on the median, on the edge of the road, on
     20
             the shoulder.
     21
                          Q.   Okay.    And what, if any, equipment did
     22
             you have in your patrol vehicle?
     23
                          A.   I had my radar, front and rear, that
     24
             was capable of getting the speed moving and
     25
             stationary, both front and rear.


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                      WITNESS: KEVIN POE - DIRECT, HEBETS               64

      1
                          Q.   Okay.    So if I understand, if your
      2
             vehicle is moving you can still get a radar number or
      3
             target on a vehicle, another moving vehicle?
      4
                          A.   Correct.
      5
                          Q.   And if you're stationary you can also
      6
             use that same radar to get a speed estimate on, or a
      7
             speed on a moving vehicle?
      8
                          A.   Correct.
      9
                          Q.   All right.    Were you operating that
     10
             radar on May 1st?
     11
                          A.   I was.
     12
                          Q.   Okay.    And did you, in fact, use the
     13
             radar on the red pickup truck?
     14
                          A.   I did.
     15
                          Q.   Can you tell the Court what, based on
     16
             the radar, what the speed of the pickup truck was?
     17
                          A.   The first thing I did before
     18
             activating the radar I attempt to, to estimate the
     19
             speed of the vehicle to be over the posted speed
     20
             limit, which I did.       I couldn't if the vehicle that I
     21
             was told, that was described to me was the vehicle or
     22
             not, and I estimated the vehicle's speed to be above
     23
             the posted speed limit, and then confirmed that with
     24
             the radar at 73 mile an hour in a posted 65 mile an
     25
             hour zone.


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                      WITNESS: KEVIN POE - DIRECT, HEBETS                65

      1
                         Q.   So it's 65 miles per hour there?
      2
                         A.   Yes, Ma'am.
      3
                         Q.   And were you facing in the same
      4
             direction the car was traveling?
      5
                         A.   I was facing eastbound.      Yes, Ma'am.
      6
                         THE COURT:   I'm sorry.    The radar confirmed
      7
             the speed at what?
      8
                         A.   Seventy-three miles an hour.
      9
                         Q.   In 65 mile per hour zone?
     10
                         A.   Yes, Ma'am.
     11
                         Q.   All right.    So when you confirmed that
     12
             speed on the radar what did you do?
     13
                         A.   I attempted to, I let the vehicle pass
     14
             me, and there was ample room to get behind the
     15
             vehicle.    I paced it for a short distance to also
     16
             confirm the speed to be above 65 mile an hour.         Once
     17
             I did that and I was comfortable I initiated my
     18
             lights and sirens and attempted to make a traffic
     19
             stop.
     20
                         Q.   So you also paced the car.       Could you
     21
             explain to the Court what that entails?
     22
                         A.   The police vehicles that we use have
     23
             calibrated speedometers to be accurate within
     24
             whatever the Department specifies, and I was behind
     25
             the vehicle a short distance.       And if I maintain a


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                      WITNESS: KEVIN POE - DIRECT, HEBETS               66

      1
             speed of 65 mile an hour and the vehicle continues to
      2
             pull away from me, I will match the speed of the
      3
             vehicle without closing the distance to my best
      4
             ability, and it was way, it was over 70 mile an hour
      5
             that that was pacing.
      6
                         Q.   Okay.   And this is a technique that
      7
             you, you learned and used daily in your official...?
      8
                         A.   I was not trained on it in the
      9
             Sheriff's Department, but prior to that, from 2001 to
     10
             2006 I was a military police officer, which I was
     11
             trained and used multiple times.
     12
                         Q.   Okay.
     13
                         THE COURT:   I submit pacing a car requires
     14
             no training.
     15
                         Q.   All right.    So, so at this point you
     16
             had both the pace speed and a radar speed, correct?
     17
                         A.   Correct.
     18
                         Q.   Exceeding the 65 mile per hour speed
     19
             limit?
     20
                         A.   Yes, Ma'am.
     21
                         Q.   And you turn on your blue lights and
     22
             attempt to make a traffic stop?
     23
                         A.   That is correct.
     24
                         Q.   And what happened when you turned on
     25
             the lights and attempted to traffic stop the vehicle?


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                      WITNESS: KEVIN POE - DIRECT, HEBETS               67

      1
                          A.   There's a general response when blue
      2
             lights are activated that based on my experience
      3
             occurs, and that is usually either brake lights
      4
             abruptly or a blinker or I, I can usually see the
      5
             side view mirror and the driver will look and
      6
             acknowledge that I'm behind them and pull over.          This
      7
             vehicle did not do that.      Matter of fact, I recall
      8
             that Mr. Rogers was wearing a ball cap, because I
      9
             could see his eyes look at me in the rearview mirror
     10
             and kind of shake his head, and at that point the -
     11
             my, my risk factor, my meter inside me continued, you
     12
             know, starts to rise, and there was no action from
     13
             the vehicle but it continued to travel eastbound, and
     14
             I allowed the distance between our vehicles to
     15
             increase, because during the nature of traveling at
     16
             high speeds on the Interstate it's not uncommon for a
     17
             collision to occur.     So I let the speed, or the
     18
             distance increase a little bit, and we continued
     19
             eastbound.
     20
                          Q.   So the Defendant, and you identified
     21
             him as Mr. Rogers, he's sitting in the Courtroom
     22
             here, correct,...?
     23
                          A.   He is.   Yes, he is.
     24
                          Q.   ...made no attempt to stop his car?
     25
                          A.   Absolutely not.


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      1
                         Q.    How long did you follow him on I-40?
      2
                         A.    Shortly after I-40 we were continuing
      3
             eastbound, and I began to notify other officers in
      4
             the area that there was, that the vehicle I was
      5
             attempting to stop was not making any attempts to
      6
             stop, and other vehicles began to get involved.          I
      7
             attempted to get in front of the vehicle to possibly
      8
             slow the vehicle down and allow someone else to make
      9
             a traffic stop or provide that safely to be done, and
     10
             the vehicle swerved towards my vehicle.        I backed up
     11
             considerably at that point and made no further
     12
             attempt to get in front of him.       We continued I-40.
     13
             There is a split at Interstate 81.        We continued
     14
             northbound on 81.     The vehicle passed the Exit 4 off
     15
             ramp shortly, and went off into the grassy area,
     16
             exited on Exit 4, turned right on Roy Messer Highway,
     17
             continued to evade.     We come to the 113, Highway 113
     18
             intersection.    He turned right, which is southbound
     19
             on 113, come to the inter, or Highway 25/70 cross,
     20
             which he disregarded the stop sign, crossed over to
     21
             the, over Highway 25/70, and my vehicle was an
     22
             Explorer, and the acceleration speed is not that of a
     23
             Crown Victoria.     So he was, at that point, created
     24
             some distance between myself and him.        I'd lost him
     25
             there for a while.     He, at that point, once he


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                      WITNESS: KEVIN POE - DIRECT, HEBETS                69

      1
             crossed over 25/70 I didn't see him.        I had no
      2
             further contact with him.
      3
                         Q.   Other officers were involved in the
      4
             pursuit...?
      5
                         A.   They were.
      6
                         Q.   ...at that point, correct?
      7
                         A.   Correct.
      8
                         THE COURT:    How fast did you get in all
      9
             this?
     10
                         A.   I, I don't have - I didn't, I didn't
     11
             mark.   That may be on dispatch records because I
     12
             would have called in the speed over the, over the
     13
             radio, but I don't recall.      My vehicle has a limiter
     14
             of, and I believe it's 95 mile an hour.        I can't, I
     15
             couldn't be accurate for sure, but I do remember
     16
             hitting that limiter where the governor, the vehicle
     17
             governs back the speed at that point.
     18
                         Q.   And you were not present when the
     19
             vehicle eventually came to a stop?
     20
                         A.   I was not.
     21
                         Q.   Did you ever go to that scene?
     22
                         A.   I did.    Shortly after it stopped we
     23
             began to set up a perimeter because the location that
     24
             the vehicle wrecked in was that of a triangle area,
     25
             kinda, and it was surrounded by road on all sides,


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                      WITNESS: KEVIN POE - DIRECT, HEBETS               70

      1
             and that area where he crashed, we just set up a
      2
             perimeter around that, that area.
      3
                          Q.   So when you got to the particular
      4
             location where the vehicle had come to a stop it
      5
             wasn't, what I would consider, a voluntary stop; it
      6
             was a crash?
      7
                          A.   It was a crash.    Yes, Ma'am.
      8
                          THE COURT:   Where did he crash?     What -
      9
             still on 113?
     10
                          A.   No, Sir.    I, and I would, I would have
     11
             to - I'm not sure.     I would have to, have to look at
     12
             the crash report, but he was on - there is - he was -
     13
             when you cross over Highway, off - from 113 when you
     14
             cross over Highway 25/70 that becomes Oak Grove Road,
     15
             I believe.    Oak Grove Road T's into Birchfield Road
     16
             and the location that he crashed would indicate that
     17
             he turned right on Birchfield Road which is a
     18
             triangle, excuse me, that will bring you back to
     19
             25/70, thereby taking a right and completing a
     20
             circle, he was on 25/70 headed eastbound, and the
     21
             vehicle was on the right side of the road.
     22
                          THE COURT:   He crashed on 25/70?
     23
                          A.   Yes, Sir.   At the intersection of
     24
             25/70 and Spring Creek Road.
     25
                          THE COURT:   And he crashed what, off to the


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      1
             right or...?
      2
                         A.   Off to the, off to the right, but
      3
             there was a - where Spring Creek Road and Highway
      4
             25/70 are, he crosses over off of the roadway.
      5
                         Q.   I have no further questions of this
      6
             witness, and I believe Mr. Leonard has something to
      7
             say to the Court.
      8
                         MR. LEONARD:    Your Honor, Mr. Rogers, at
      9
             this point, wants me to withdraw the motion, and I'll
     10
             do so at his request.
     11
                         THE COURT:   For whatever it's worth, I
     12
             concur fully.    Thank you, Sir.
     13


     14
             THIS CONCLUDES THE TESTIMONY OF KEVIN POE AS
     15
             PRESENTED IN THIS MATTER.
     16


     17


     18


     19


     20


     21


     22


     23


     24


     25




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                                                                        72

      1
                         THE COURT:    And that would seem to end our
      2
             business, does it not?
      3
                         MS. HEBETS:    It does, Your Honor.
      4
                         THE COURT:    Okay.   If nothing else, we
      5
             will...
      6
                         CLERK:   All rise.    Court stands in
      7
             adjournment.
      8


      9
             THIS COMPLETES ALL MATTERS AS PRESENTED IN THE
     10
             FOREGOING CASE.
     11


     12


     13


     14


     15


     16


     17


     18


     19


     20


     21


     22


     23


     24


     25




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                                                                        73

      1
                                     CERTIFICATE
      2
                         I, Betty B. Neal, Notary Public and Court
      3
             Reporter, hereby certify that the foregoing is a true
      4
             and complete transcript of the PRETRIAL CONFERENCE
      5
             AND MOTION HEARING as heard in the aforementioned
      6
             case on the 7th of December, 2011.
      7
                         WITNESS my hand and official seal at office
      8
             at Gray, Tennessee, this the 30th of January, 2012.
      9


     10


     11


     12


     13


     14


     15


     16


     17


     18


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     20


     21


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     23


     24


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